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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                                  for the

                                                        Eastern District of Texas


                        David E. Mack                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiffs)                             )
                                V.
                                                                                          4:18-cv-6
                                                                    | Civil Action No.
                          Equifax, Inc.                             )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s) )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Equifax, Inc.
                                          1550 Peachtree Street
                                          Atlanta, GA 30309




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: David E. Mack
                                7720 McCallum Bl d. #2099
                                Dallas, Texas 75252




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                1/3/18
                                                                                     Sign ture of Clerk or Deputy Clerk
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 Civil Action No.

                                                         PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of i dividual and ti e, if any)

was received by me on (date)


               I person lly served the summons on the individual at (place)
                                                                             on (date) ; or

               I left the summons at the individual s residence or usual place of abode with (name)
                                                              , a person of suitable age and discretion who resides there,
           on (date) , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual) , who is

           designated by law to accept service of process on behalf of (name of organization)
                                                                             on (date) ; or

               I retu           ed the summons unexecuted because ; or


          Cl Other (specify):




          My fees are $ for travel and $ for services, for a total of $ q.00


           I declare under penalty of perjury that this information is true.



Date:
                                                                                      Serve 's signat re




                                                                                     Printed name and ti e




                                                                                       Ser er's ddress


Additional information regarding attempted service, etc:
